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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

In re:                                                           Case No. 10-02689
         MAE CHRISTENSEN

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/25/2010.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 05/14/2010.

         6) Number of months from filing to last payment: 5.

         7) Number of months case was pending: 6.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $21,859.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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 Receipts:

            Total paid by or on behalf of the debtor                       $3,295.40
            Less amount refunded to debtor                                 $1,059.24

 NET RECEIPTS:                                                                                                     $2,236.16



 Expenses of Administration:

      Attorney’s Fees Paid Through the Plan                                           $1,460.86
      Court Costs                                                                         $0.00
      Trustee Expenses & Compensation                                                   $125.22
      Other                                                                               $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                                 $1,586.08

 Attorney fees paid and disclosed by debtor:                               $0.00



 Scheduled Creditors:
 Creditor                                                Claim         Claim             Claim         Principal        Int.
 Name                                    Class         Scheduled      Asserted          Allowed          Paid           Paid
 ADVANTAGE ASSETS                    Unsecured               918.00              NA               NA           0.00            0.00
 ASM CENTER FOR SLEEP MED            Unsecured               397.00              NA               NA           0.00            0.00
 BANK ONE/JPM CHASE                  Unsecured             8,386.00              NA               NA           0.00            0.00
 BECKET & LEE LLP                    Unsecured             5,890.00              NA               NA           0.00            0.00
 CAPITAL ONE BANK                    Unsecured             1,592.00              NA               NA           0.00            0.00
 CHASE HOME FINANCE                  Secured               7,000.00              NA               NA           0.00            0.00
 CHASE HOME FINANCE                  Secured                   0.00              NA               NA           0.00            0.00
 CITICARDS PRIVATE LABEL             Unsecured             2,947.00              NA               NA           0.00            0.00
 CITIFINANCIAL                       Unsecured             2,205.00              NA               NA           0.00            0.00
 COMCAST                             Unsecured               190.00              NA               NA           0.00            0.00
 FFCC COLUMBUS INC                   Unsecured               396.00              NA               NA           0.00            0.00
 FIRST MIDWEST BANK                  Secured              22,002.00              NA               NA         650.08            0.00
 LAKE FOREST HOSPITAL                Unsecured             2,312.00              NA               NA           0.00            0.00
 PORTFOLIO RECOVERY ASSOC            Unsecured             1,543.00              NA               NA           0.00            0.00
 SAFEWAY STORES INC                  Unsecured                25.00              NA               NA           0.00            0.00
 SEARS BKRUPTCY RCVRY MGMT SV        Unsecured             1,457.00              NA               NA           0.00            0.00
 THE PINES TOWNHOME ASSOC            Secured                   0.00              NA               NA           0.00            0.00
 UNITED RECOVERY SYSTEMS             Unsecured             1,742.00              NA               NA           0.00            0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal             Interest
                                                                    Allowed                 Paid                 Paid
 Secured Payments:
        Mortgage Ongoing                                               $0.00             $650.08                $0.00
        Mortgage Arrearage                                             $0.00               $0.00                $0.00
        Debt Secured by Vehicle                                        $0.00               $0.00                $0.00
        All Other Secured                                              $0.00               $0.00                $0.00
 TOTAL SECURED:                                                        $0.00             $650.08                $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                    $0.00               $0.00                $0.00
         Domestic Support Ongoing                                      $0.00               $0.00                $0.00
         All Other Priority                                            $0.00               $0.00                $0.00
 TOTAL PRIORITY:                                                       $0.00               $0.00                $0.00

 GENERAL UNSECURED PAYMENTS:                                           $0.00               $0.00                $0.00



 Disbursements:

          Expenses of Administration                                    $1,586.08
          Disbursements to Creditors                                      $650.08

 TOTAL DISBURSEMENTS :                                                                                    $2,236.16



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 08/06/2010                                  By: /s/ Glenn Stearns
                                                                                 Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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